             Case 09-34791-PGH         Doc 1603      Filed 04/08/11     Page 1 of 23




                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION
                                 www.flsb.uscourts.gov

IN RE:                                                CASE NO.: 09-34791-RBR

ROTHSTEIN ROSENFELDT ADLER, P.A.,                     CHAPTER 11

      Debtor.
____________________________________/

RESPONSE OF L.M., BRADLEY J. EDWARDS, AND FARMER, JAFFE, WEISSING,
 EDWARDS, FISTOS & LEHRMAN, P.L TO CREDITORS MOTION TO CLARIFY
                            PRIOR ORDERS

         L.M. (a minor victim of sex offenses), Bradley J. Edwards, and Farmer, Jaffe, Weissing,

Edwards, Fistos & Lehrman, P.L. (hereinafter referred to collectively as “L.M. et al.”) file this

response to the Motion to Clarify Prior Orders (doc. #1554) of Razorback Funding, L.L.C. and

other creditors (hereinafter referred to collectively as “Razorback Creditors”).

         The Razorback Creditors’ motion seeks to “clarify” that they have a right to “fully

participate” in the process established by Special Master Carney for determining whether internal

law firm e-mails and other records are protected by the attorney-client privilege. The motion,

however, rests on the assumption that the creditors have established that the e-mails and other

materials somehow have relevance to the instant bankruptcy action or to their state court action 1

against Scott Rothstein and others. This foundational assumption is incorrect – the materials are

utterly irrelevant to either this bankruptcy action or to the Razorback Creditor’s lawsuit.

Moreover, as a matter of comity, these issues surrounding discovery in a state court case should

be left to the state court to rule upon. Accordingly, in ruling on the Razorback Creditor’s

motion, the Court should make clear that it is not ruling on the numerous issues relating to


1
 Razorback Funding, LLC, et al. v. Rothstein, et al., Case # 09-062943 CACE 19, Circ. Crt. of
the 17th Judicial Circuit in and for Broward County, Florida.
             Case 09-34791-PGH          Doc 1603      Filed 04/08/11      Page 2 of 23




relevance, burdensomeness, and attorney-client and other privileges regarding the Razorback

Creditors’ subpoena. Instead, these issues are left to the State Court judge presiding over their

case to decide.

I.     BACKGROUND

       The procedural background surrounding the Razorback Creditor’s motion is important to

the Court’s ultimate resolution of that motion. It is therefore set out here:

       Epstein’s Sexual Abuse Victims Obtain Legal Representation from Bradley Edwards

1.     Between approximately August 2002 and September 2005, Jeffrey Epstein sexually

assaulted L.M., who was then a minor female, more than 50 times. In particular, beginning when

she was 13 years old, he (among many other acts of sexual abuse) vaginally penetrated L.M.

with his finger and with a massager.

2.     Epstein is a politically-connected billionaire, who used his wealth and power to coerce

L.M. into submitting to these sexual assaults. L.M. suffered severe emotional and other trauma

as a result of these sexual assaults. During the same time, Epstein also sexually abused several

dozen other minor females, including E.W. and S.R.

3.     In about April 2008, Bradley J. Edwards, Esq., was a licensed attorney in Florida,

practicing as a sole practitioner. As a former prosecutor, he was well versed in civil cases that

involved criminal acts, including sexually assaults. Three of the many girls Epstein had abused –

L.M., E.W., and S.R. (also known as “Jane Doe”) – all requested that Edwards represent them

civilly and secure appropriate monetary damages against Epstein for repeated acts of sexual

abuse while they were minor girls.

4.     On June 13, 2008, attorney Edwards agreed to represent E.W.; on July 2, 2008, attorney

Edwards agreed to represent S.R.; and, on July 7, 2008, attorney Edwards agreed to represent

                                                  2
                Case 09-34791-PGH       Doc 1603      Filed 04/08/11     Page 3 of 23




L.M. in connection with the sexual assaults committed by Epstein.

5.      On June 30, 2008, in the Fifteenth Judicial Circuit in Palm Beach County, Florida,

defendant Epstein, entered pleas of "guilty" to various Florida state crimes involving the

solicitation of minors for prostitution and the procurement of minors for the purposes of

prostitution.

6.      As a condition of that plea, and in exchange for the Federal Government not prosecuting

him, Epstein additionally entered into an agreement with the Federal Government

acknowledging that approximately thirty-four (34) other young girls (including L.M. and E.W.)

could receive payments from him under the federal statute providing for compensation to victims

of child sexual abuse, 18 U.S.C. § 2255.

7.      On September 11, 2008, at the request of his client L.M.., Brad Edwards filed a civil suit

against Jeffrey Epstein to recover damages for his sexual assault of L.M. Around the same time,

he also filed suits for E.W. and S.R.

8.      At about the same time as Edwards filed his three lawsuits against Epstein, other civil

attorneys were filing similar lawsuits against Epstein. For example, on or about April 14, 2008

another law firm, Herman and Mermelstein, filed the first civil action against Epstein on behalf

of one of its seven clients who were molested by Epstein. The complaint that attorney Herman

filed on behalf of his seven clients was similar in tenor and tone to the complaint that Edwards

filed on behalf of his three clients. Over the next year and a half, more than 20 other similar civil

actions were filed by various attorneys against Epstein alleging sexual assault of minor girls. In

fact, one of these civil complaints, Jane Doe 102 v. Jeffrey Epstein filed by attorney Robert

Josefsberg, was much more graphic and detailed than any filed by Brad Edwards and described

how Jeffrey Epstein sexually trafficked and pimped Jane Doe 102 to his high-profile friends,

                                                 3
             Case 09-34791-PGH         Doc 1603      Filed 04/08/11     Page 4 of 23




politicians, academicians, royalty, etc.. (Jane Doe 102 v. Jeffrey Epstein complaint attached

hereto as Exhibit A).

9.     In addition to civil suits that were filed in court against Epstein, at around the same time

other attorneys engaged in pre-filing settlement discussions with Epstein. Rather than face filed

civil suits in these cases, Epstein paid money settlements to more than 15 other women whom he

had sexually abused while they were minors.

       Edwards Pursues the Cases Against Epstein and Obtains Settlements

10.    Once Edwards filed his civil complaints for his three clients, he began the normal process

of discovery for cases such as these. He sent standard discovery requests to Epstein about his

sexual abuse of the minor girls, including requests for admissions, request for production, and

interrogatories.   Rather than answer any substantive questions about his sexual abuse and his

conspiracy for procuring minor girls for him to abuse, Epstein invoked his 5th amendment right

against self-incrimination. When Edwards had the opportunity to take Epstein’s deposition, he

only asked reasonable questions, all of which related to the merits of the cases against Epstein.

11.    Edwards’ efforts to obtain information about Epstein’s organization for procuring young

girls were also blocked because Epstein’s co-conspirators (i.e., Sarah Kellen, Nadia Marcinkova,

Adriana Mucinska Ross) also took the Fifth on every question posed. Other important witnesses

(i.e., Ghislaine Maxwell, Jean Luc Brunel) evaded depositions.

12.    Because of the difficulty of obtaining discovery from Epstein and his co-conspirators,

Edwards was forced to pursue other avenues of discovery to further his clients’ cases.

Accordingly, he pursued discovery against friends of Epstein who might have knowledge of the

relevant events. Since Epstein traveled in celebrity circles, many of his friends were also



                                                 4
                 Case 09-34791-PGH         Doc 1603      Filed 04/08/11      Page 5 of 23




celebrities. 2

13.        Edwards also received information that Epstein engaged in sexual abuse of minors on his

private aircraft. Accordingly, Edwards pursued discovery to confirm this allegation and obtained

flight logs and passenger information regarding some of Epstein interstate and international

flights.

14.        On July 6, 2010, rather than face trial for the civil suits that had been filed against him by

L.M., E.W., and Jane Doe, defendant Epstein settled the cases against him. The exact terms of

the settlement are confidential, but all three of the clients were very satisfied with the legal

representation of Edwards. Epstein has made substantial payments to other girls who he has

abused rather than face trial on the civil suits that have been filed against him by other attorneys.

           Scott Rothstein’s Ponzi Scheme

15.        From in or about 2005, through in or about November 2009, Scott Rothstein appears to

have run a giant Ponzi scheme at his law firm of Rothstein, Rosenfeldt and Adler P.A. (“RRA”).

This Ponzi scheme involved Rothstein falsely informing investors that settlement agreements

had been reached with putative defendants based upon claims of sexual harassment and/or

whistle-blower actions. Rothstein falsely informed the investors that the potential settlement

agreements were available for purchase.

16.        In about October 2009, Rothstein met with Dean Russell Kretschmar (an investor in

Razorback) and made false representations about cases against Epstein. Rothstein claimed that

there were 18 such cases being pursued against Epstein that could lead to confidential
2
  Recent news reports have clearly revealed that the Epstein’s celebrity friends undeniably have
relevant information about his sexual abuse of minor girls. See, e.g., Was [Prince] Andrew
Involved with Teenage Girls? Pervert’s Aide Quizzed Over Prince, Mirror (UK), March 14,
2011, at 11 (discussing involvement of Prince Andrew with Jeffrey Epstein’s sexual affairs); Bill
Knew, Says Perv’s Masseuse, New York Post, March 7, 2011, at 7 (discussing former President
Bill Clinton’s knowledge of Epstein’s sexual affairs).
                                                5
             Case 09-34791-PGH        Doc 1603      Filed 04/08/11    Page 6 of 23




settlements. Rothstein never mentioned Bradley J. Edwards. Epstein v. Rothstein, Case NO. 50

2009CA040800XXXXMB AG, Depo. of Dean Russell Kretschmar, Feb. 11, 2011, at 73.

Rothstein never mentioned L.M. (or any of the other girls Epstein had abused). Id. at 61.

17.    In about October 2009, Rothstein fraudulently persuaded various investors to invest in

fictitious confidential settlements with Jeffrey Epstein. These confidential settlements were

separate from the other cases being handled by RRA. Id. at 65-66, 73. The basic pitch was that

clients needed immediate payment of confidential structured settlements that were paying out

over time.

18.    Edwards had no knowledge of the any such fraud. Edwards joined RRA in about April

2009, bringing his three cases against Epstein with him. Edwards left RRA in November 2009 –

a period of less than one year. Edwards would not have joined RRA had he been aware that

Scott Rothstein was running a giant Ponzi scheme at the firm. Edwards left RRA shortly after

learning of Rothstein’s fraudulent scheme.

19.    At the time Rothstein was making pitches about structure settlements, none of Edwards’

three cases had settled. (They would not settle until July 2010, another eight months after

Rothstein’s fraud was exposed.)

20.    Edwards never substantively discussed the merits of any of his three cases against

Epstein with Rothstein. L.M. never met Rothstein.

21.    In the wake of Rothstein’s fraud, RRA filed for bankruptcy. This Court appointed

Herbert Stettin as Trustee in Bankruptcy for RRA to administer the firm’s assets and claims.

22.    On July 20, 2010, Bradley Edwards received a letter from the U.S. Attorney’s Office for

the Southern District of Florida – the office responsible for prosecuting Rothstein’s Ponzi

scheme. The letter indicated that law enforcement agencies had determined that Edwards was “a

                                                6
            Case 09-34791-PGH          Doc 1603     Filed 04/08/11    Page 7 of 23




victim (or potential victim)” of Scott Rothstein’s federal crimes. The letter informed Edwards of

his rights as a victim of Rothstein’s fraud and promised to keep Edwards informed about

subsequent developments in his prosecution.

       Epstein’s Lawsuit Against Edwards

23.    On December 7, 2009, Jeffrey Epstein filed a lawsuit against L.M. and Edwards, alleging

that they had manufactured claims against him and had sensationalized the allegations against

him. Epstein also alleged that Rothstein had engaged in a fraud against him. Jeffrey Epstein v.

Scott Rothstein, Bradley J. Edwards, and L.M., Case No. 50-2009 CA 040800XXXX MB AG

(Cir. Ct. of the 15th Judicial Circuit, Palm Beach County, FL).

24.    L.M. and Edwards answered the complaint, denying all allegations against them and

raising a counterclaim for abuse of process.

25.    In fact, Edwards has filed a detailed Motion for Summary and accompanying Undisputed

Statement of Facts detailing the frivolous nature of Epstein’s complaint and allegations against

Edwards. (Attached hereto as Exhibit B and C).

26.    On about April 17, 2010, Epstein propounded a very broad subpoena to the Trustee for

RRA, requesting tens of thousands of e-mails and other records connected with civil cases filed

against him. The subpoena was directed to the Trustee in this case, who had possession of some

of the e-mails and records at issue. The request was not reasonably calculated to lead to the

discovery of admissible evidence.     The e-mails and records at issue include discussion of

confidential issues pertaining to L.M., as well as attorney-client privileged and work product

protected information.

27.    The trustee for RRA is merely the custodian of these records and stands in the shoes of

the former RRA attorneys and clients. The trustee is therefore obligated to protect the interests

                                                7
               Case 09-34791-PGH        Doc 1603     Filed 04/08/11     Page 8 of 23




of (for example) L.M., including her right to privacy against compelled disclosure of confidential

medical and psychiatric information, as well as against disclosure of attorney-client privileged

and work product protected materials.

28.    Epstein’s counsel had a subpoena duces tecum issued from the Circuit Court in Epstein v.

Edwards seeking production from Trustee Stettin of the case files of Edwards relating to L.M.

and other clients. L.M. and the Trustee filed for a protective order.

29.    Epstein then filed a motion to compel in this Court seeking production of the same

documents which the Circuit Court did not allow. Epstein’s Motion to Compel (doc. #807).

30.    July 19, 2010, L.M. filed an objection and Amended Motion for Protective Order (doc.

#819), explaining that the requested materials were barred from disclosure by the attorney client

privilege and work product protections.        She also explained that the materials involved

confidential matters and that the discovery requests were not reasonably calculated to lead to the

discovery of admissible evidence.

31.    On August 13, 2010, this Court entered an Order regarding production of documents

regarding Jeffrey Epstein. This Court appointed former Broward County Circuit Judge Robert

Carney as a special master to work with counsel for the Trustee regarding privileged documents

(doc. #888).

32.    On September 20, 2010, Special Master Carney moved for clarification of the order

appointing him in several respects.

33.    On September 27, 2010, Bradley J. Edwards moved for a protective order, adopted the

arguments of L.M. in her motion for a protective order. Edwards further asked that the court

preclude production of the documents on grounds of his own attorney client-privilege and

attorney work product. Doc. # 1022.

                                                 8
              Case 09-34791-PGH        Doc 1603      Filed 04/08/11     Page 9 of 23




34.    On September 30, 2010, L.M. joined in that objection and further asked for clarification

of the scope of the orders so that she could determine how to proceed to protect her interests.

Doc. #1038.

35.    On October 15, 2010, this Court entered an order clarifying its earlier order (doc. #1068).

The order provided that counsel for the Trustee would deliver to the Farmer, Jaffe, Weissing,

Edwards, Fistos & Lehrman, P.L. law firm (“Farmer, Jaffe”) the documents at issue in the

subpoena, giving Farmer Jaffe an opportunity to prepare a privilege log.           The order also

established a procedure for the Special Master to hold a hearing about assertions of privilege.

36.    On October 20, 2010, this Court entered an order cancelling the hearing on the motion for

protective order (doc. #1077), noting that all issues raised in the motion for a protective order

had been “preserved.”

37.    On October 13, 2010, the Creditors served a Rule 2004 subpoena on the Trustee

requesting in this bankruptcy case essentially the same documents as had been sought by

Epstein. Doc. #1063, 1143, and 1191.

38.    On December 16, 2010, L.M. filed a motion requesting an emergency hearing and stay of

court order directing preparation of the privilege log (doc. #1236). L.M. requested a ruling on

the pending summary judgment motions in the state court case before requiring production of the

privilege log and further for sufficient time to prepare a privilege log regarding documents that

exceeded 24,000 email-related pages.

39.    On December 22, 2010, this Court entered an order extending time for production of a

privilege log until January 31, 2011 (doc. #1260).

40.    On January 26, 2011, Farmer Jaffe produced the privilege log as directed by this Court.

Jeffrey Epstein challenged the sufficiency of that privilege log (doc. #1442). Special Master

                                                 9
              Case 09-34791-PGH       Doc 1603       Filed 04/08/11    Page 10 of 23




Carney set a hearing for April 6, 2011 regarding the sufficiency of the privilege log.

41.    On March 30, 2011, Judge Crow, presiding over the Epstein v. Rothstein, Case NO. 50

2009CA040800XXXXMB AG case issued an Order staying all subpoenas that have been issued

by Epstein’s Counsel, including that which was served upon the trustee. (Attached her eto as

Exhibit D).

       The Separate Lawsuit by the Razorback Creditors

42.    Meanwhile, the Razorback Creditors filed a lawsuit against Scott Rothstein and other

defendants alleging fraudulent misrepresentation and other claims. L.M. and Bradley J. Edwards

are not defendants in that action. Razorback Funding, LLC et al. v. Scott W. Rothstein et al.,

Case NO. 09-062943(19) (Cir. Ct. of the 17th Judicial Circuit, Broward County, FL).

43.    The lawsuit alleged that Rothstein told the investors that confidential settlements would

be reached with various defendants, with structured monthly payments. Rothstein further told

the investors that some plaintiffs would not want to wait for structured monthly payments, and

would be willing to accept a lump-sum payment in the range of 20-40% off the settlement’s face-

value. Id. at ¶ 82.

       The Pending Motion

44.    The Razorback Creditors learned of Judge Carney’s hearing on the privilege log. On

March 18, 2011, the Razorback Creditors filed the instant motion to clarify prior orders, seeking

to “fully participate” in the process for determining privilege. The motion asserted that “[t]he

Razorback Creditors’ counsel and Trustee’s counsel have previously agreed that all documents

produced through the special master process would also be produced to the Razorback

Creditors.” Doc. #1554 at ¶ 7.



                                                10
            Case 09-34791-PGH          Doc 1603       Filed 04/08/11    Page 11 of 23




II.    MEMORANDUM OF LAW

       The Razorback Creditors’ motion to clarify makes a number of assumptions about the

current status of the case. L.M. et al. believes several of these assumptions are incorrect, and the

Court should accordingly not adopt those assumptions. In particular, the motion incorrectly

assumes that the documents in issue have been determined to relevant in the pending state court

case filed by Razorback, when in fact they are utterly irrelevant. Moreover, that issue (and other

issues surrounding discovery) are properly left to the state court handling those issues in the first

instance. The Court should therefore make clear in ruling on the Razorback Creditor’s Motion

that issues surrounding relevance of the materials and other related discovery issues are left to

the State Court to decide.

       A.      The Subpoenaed Materials Are Simply Irrelevant to Any Issues in the
               Razorback Creditors’ Action Against Scott Rothstein.

       The Razorback Creditors tersely assert that it “subpoenaed the documents as [they]

[relate] to the investigation of claims relating to the Ponzi scheme at issue in this case, in

particular, how Scott Rothstein and possible others at RRA used false and sensational allegations

involving Epstein and the promise of enormous settlements based on fictional and fabricated

events to help lure investors into the Ponzi scheme.” Motion at 3. But in fact, the documents do

not have any bearing on any controverted issue in the case. Neither Edwards nor his clients who

were sexual abuse victims of Epstein wish to impede the rightful prosecution of the Razorback

lawsuit against the criminals who perpetrated a fraud and who should be held accountable. In

fact, Edwards and his clients would cooperate and assist in the prosecution of that action in any

way possible; however, information contained within the real cases prosecuted against Epstein

could not possibly help to prove or disprove a material fact in controversy in the Razorback case


                                                 11
            Case 09-34791-PGH          Doc 1603       Filed 04/08/11     Page 12 of 23




where the allegation in that action is that Rothstein duped them into investing in cases

completely fabricated by Rothstein.       Razorback’s best argument that any of the discovery

obtained in the cases actually litigated against Epstein is relevant to the Razorback litigation is

that Razorback investors were apparently shown certain documents (flight logs that contained the

names of high profile friends of Epstein) and they claim that those documents from the real cases

further induced them to invest in the fabricated cases that Rothstein dreamt up. If that is the

case, then Razorback should be made to specify which documents induced them into this

investment and Edwards will turn each one of those documents over immediately. Other than

the few documents which allegedly helped to entice the Razorback investors to buy into

Rothstein’s ponzi scheme, how is it conceivable that the remaining discovery material and

attorney work-product information and ideas and attorney-client privileged materials within the

bona fide case files could be relevant to the Razorback action? Certainly, any relevance that

Razorback can allege is greatly outweighed by the burdensome nature of the request and the

imposition on Edwards and his clients, especially in light of the fact that there does not seem to

be any remaining dispute as to what Rothstein did to scam these investors.

       Rothstein has now pled guilty to criminal fraud for misrepresenting the investment

opportunities available in cases at the firm. See Plea Agreement, Doc. #69, United States v.

Rothstein, No. 09-60331-CR-COHN. Accordingly, the fact he made misrepresentations about

certain fictitious settlements is not in doubt. Nor is there any doubt that the fictitious settlements

involved cases that did not actually ever exist and had never actually been filed. That is what the

Razorback Creditors understood. See ¶ 17, 41, supra. And that is what Scott Rothstein plead

guilty to. See Plea Agreement, Statement of Facts, at 2 (discussing fraudulent scheme involving

“pre-litigation” settlement agreements and “therefore there was no pending litigation or court

                                                 12
                Case 09-34791-PGH     Doc 1603       Filed 04/08/11    Page 13 of 23




oversight”). Of course, the three Epstein cases handled by Bradley Edwards had all been filed in

court and were legitimate claims being prosecuted against Epstein – claims that Epstein

ultimately settled for significant amounts months after he alleged in his baseless complaint that

the claims had minimal value. Accordingly, these legitimate cases had nothing to do with Scott

Rothstein’s Ponzi scheme.

        The Razorback Creditors should not be permitted to impose burdensome discovery

obligations on a non-party and to obtain the release of confidential client files in pursuit of

evidence of undisputed events until there is at least a determination of relevance. Indeed, the

obligation to produce a privilege log is not even triggered until there has been an initial

determination of relevancy. See Gosman v. Luzinski, 937 So.2d 293, 296 (Fla. App. 2006)

(“Before a written objection to a request for production of documents is ruled upon, the

documents are not ‘otherwise discoverable’ and thus the obligation to file a privilege log does

not arise.”).

        B.        Discovery Issues Related to the State Court Issued Subpoenas Are
                  Not Properly Before the Bankruptcy Court

        The Razorback Creditors are also attempting to litigate issues relating to discovery in

state court cases before this bankruptcy court. But neither 28 U.S.C. §§ 152 or 1334 confer

jurisdiction on this honorable Court to adjudicate a discovery matter arising purely under state

law claims filed in state court. The Razorback Creditors in essence are seeking to perform an

end run around the Circuit Court’s proper exercise of its jurisdiction to adjudicate matters

pending before it, including subpoenas issued from that court. For reasons of comity alone, this

Court should not rule on issues regarding the proper conduct of those state court cases.




                                                13
             Case 09-34791-PGH           Doc 1603     Filed 04/08/11    Page 14 of 23




        C.      The Subpoenaed Materials Fall Well Outside the Boundaries of Permissible
                Subpoena Under Rule 2004.

        The subpoenaed materials also fall well outside of the materials that can be obtained

under Rule 2004.       Not surprisingly, the Bankruptcy Rules limit examinations to specific

questions related to the debtor’s estate:

        (b) Scope of examination
        The examination of an entity under this rule or of the debtor under § 343 of the
        Code may relate only to the acts, conduct, or property or to the liabilities and
        financial condition of the debtor, or to any matter which may affect the
        administration of the debtor's estate, or to the debtor's right to a discharge. . . .

Bankruptcy Rule 2004(b) (emphasis added).             Obviously the materials that the Razorback

Creditors are seeking are not related to the “financial condition of the debtor” or any similar

matters. Instead, the Razorback Creditors are transparently seeking to use a bankruptcy process

to obtain discovery related to their pending state court litigation.     Such discovery should be

pursued in the state court, where the state court judge presiding over the case can make

assessments of relevancy, burdensomeness, and other issues surrounding production of the

materials.

        D.      The Discovery Sought is Privileged and/or Attorney Work Product and
                Beyond the Permissible Scope of Discovery.

        At every step of this case, L.M. et al. have asserted privileges and other protections in the

subpoenaed materials, including attorney-client privileges and work-product protections.        L.M.

et al. reassert all of those protections here.

                i.      Scope of Permissible Discovery

        Rule 26(b) excludes privileged matters from the scope of permissible discovery. Epstein

seeks the production of documents from clients’ privileged case files and investigative files.

These documents are beyond the scope of discovery permitted by Rule 26(b).

                                                 14
             Case 09-34791-PGH         Doc 1603       Filed 04/08/11     Page 15 of 23




               ii.     Protective Orders

       Rule 26(c) states that a court may protect a party or person from whom discovery is

sought, based on “good cause shown.” A party or any person from whom discovery is sought

may move for a protective order in the court where the action is pending — or as an alternative

on matters relating to a deposition, in the court for the district where the deposition will be taken.

The motion must include a certification that the movant has in good faith conferred or attempted

to confer with other affected parties in an effort to resolve the dispute without court action. The

court may, for good cause, issue an order to protect a party or person from annoyance,

embarrassment, oppression, or undue burden or expense, including one or more of the following:

       (A)     forbidding the disclosure or discovery;
       (B)     specifying terms, including time and place, for the disclosure or discovery;
       (C)     prescribing a discovery method other than the one selected by the party
               seeking discovery;
       (D)     forbidding inquiry into certain matters, or limiting the scope of disclosure
               or discovery to certain matters;
       (E)     designating the persons who may be present while the discovery is
               conducted;
       (F)     requiring that a deposition be sealed and opened only on court order;
       (G)     requiring that a trade secret or other confidential research, development, or
               commercial information not be revealed or be revealed only in a specified
               way; and
       (H)     requiring that the parties simultaneously file specified documents or
               information in sealed envelopes, to be opened as the court directs.

Fed.R.Civ.P. 26(c)

       The Razorback Creditors seek the production from the Trustee of privileged, confidential,

and attorney work product materials. The requested documents, relating to the bona fide cases of

clients are not relevant or calculated to lead to the discovery of admissible evidence in this

bankruptcy action or any adversary proceeding presently before this Court. Therefore, the

requested documents are beyond the scope of permissible discovery.          The requested materials


                                                 15
            Case 09-34791-PGH          Doc 1603       Filed 04/08/11    Page 16 of 23




are not discoverable under the Florida Rules of Civil Procedure, the Federal Rules of Civil

Procedure, the Bankruptcy Rules of Civil Procedure or any other possibly applicable system of

rules. Moreover, the document production methodology established by order of this Court was

not intended to be a conduit of privileged and work product of RRA’s former clients to the

clients’ litigation adversaries. L.M. et al. should be given a full and fair opportunity to have all

these issues addressed.

       E.       There Can Be No Valid “Agreement” Between the Trustee and the Creditors
               that Binds L.M. or Waives Her Rights.

       The Razorback Creditors assert in their motion that “[t]he Razorback Creditors’ Counsel

and Trustee’s counsel have previously agreed that all documents produced through the special

master process would also be produced to the Razorback Creditors.” Motion at 4. L.M. has not

been notified of any such agreement.         Any such agreement is accordingly invalid, as the

agreement would have to fully protect L.M.’s interests.

                                              CONCLUSION

       In ruling on the Razorback Creditors’ Motion to Clarify, the Court should make clear in

ruling on the Razorback Creditor’s Motion that issues surrounding relevance of the materials and

other related discovery issues are left to the State Court to decide.

       DATED:          April 8, 2011

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                                                 16
Case 09-34791-PGH      Doc 1603        Filed 04/08/11     Page 17 of 23




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       Case No.: 502009CA040800XXXXMBAG




                                  17
           Case 09-34791-PGH         Doc 1603    Filed 04/08/11   Page 18 of 23




                                   MASTER SERVICE LIST

                               CASE NO.: 09-34791-BKC-RBR
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                                           19
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